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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                               Civil Action No. 0:24-cv-1861


UNITED STATES OF AMERICA,                       COMPLAINT

              Plaintiff,                        DEMAND FOR JURY TRIAL

       v.

CITY OF ANOKA, MINNESOTA,

       Defendant.

                                          INTRODUCTION

       1.     The United States of America brings this suit against the City of Anoka,

Minnesota (the City or Defendant) to enforce Title II of the Americans with Disabilities

Act (ADA), 42 U.S.C. §§ 12131–12134, as amended, and Title VIII of the Civil Rights Act

of 1968, as amended (Fair Housing Act or FHA), 42 U.S.C. §§ 3601–3631. The United

States respectfully alleges as follows:

       2.     Since at least September 2018 to the present, Defendant has denied

individuals with mental health disabilities and those associated with them an equal

opportunity to benefit from its emergency response service and subjected them to

discrimination in violation of the ADA and the FHA. Defendant provides an emergency

response service that individuals can access at any hour when they need critical medical

care or other assistance during a crisis. Through the enforcement and implementation of

its “Rental Licensing and Crime Free Housing” ordinance, however, Defendant can and


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does classify some calls for emergency service as a “nuisance” even if the call was placed

for a medical emergency. Defendant has told tenants with mental health disabilities who

have called emergency services that they risk eviction if they make future calls. And

Defendant has pressured landlords to evict residents because of calls for emergency

service, even though such calls were due to the residents’ mental health disabilities.

Landlords who fail to evict residents risk the City suspending or terminating their rental

license under the ordinance.

       3.     Through these actions, Defendant has denied and discouraged residents with

mental health disabilities, and those associated with them, from exercising their right to

request necessary emergency service from the City. And through the threat of eviction

contained in the ordinance, Defendant has conditioned the safety and security of the

housing of residents with mental disabilities on their willingness to forgo seeking necessary

emergency services and medical care.

       4.     From at least 2018 through mid-2023, Defendant also compiled “Calls for

Service Reports,” weekly reports that the City sent to all landlords in its jurisdiction

detailing all calls for emergency service from all rental properties. In these Calls for

Service Reports, Defendant disclosed, without consent, confidential medical information

about individuals with mental health disabilities who required emergency service in the

City during the timeframe covered by the report, including their diagnoses, medications,

names of their medical providers, and details about suicide attempts. Defendant continues

to compile these reports and makes them available on request to landlords. Defendant’s

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distribution of these Calls for Service Reports to all landlords in the City discouraged, and

continues to discourage, individuals with mental health disabilities and those associated

with them from calling for help during emergencies. Individuals with mental health

disabilities refrain from calling emergency services to avoid risking their current or future

housing prospects and having their confidential medical information shared with landlords.

                                  JURISDICTION AND VENUE

        5.      This Court has jurisdiction over this action under 42 U.S.C. § 12133, 42

U.S.C. § 3614, and 28 U.S.C. §§ 1331 and 1345.

        6.      The Court may grant the relief sought in this action under 28 U.S.C. §§ 2201–

2202, 42 U.S.C. § 12133, and 42 U.S.C. § 3614(d).

        7.      The United States has authority to seek remedies for violations of Title II of

the ADA, 42 U.S.C. § 12133; 28 C.F.R. pt. 35, subpt. F, and for violations of the FHA, 42

U.S.C. § 3614(a). The United States of America brings this action to enforce the rights of

individuals with disabilities and those associated with them.

        8.      Venue is proper in this district under 28 U.S.C. § 1391, because Defendant

resides in this district and a substantial part of the events giving rise to this action occurred

in this district.




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                                            PARTIES

       9.     Plaintiff is the United States of America.

       10.    Defendant, a political subdivision of the State of Minnesota, is a “public

entity” within the meaning of 42 U.S.C. § 12131(1) and 28 C.F.R. § 35.104 and is subject

to Title II of the ADA and its implementing regulation.

       11.    Defendant is governed by a City Council, which consists of a Mayor and four

Councilmembers. The City Council is the policy making body of the City. The City

Manager serves as the Chief Executive Officer and the head of the administrative branch

of the City government.

       12.    Defendant is responsible for the enactment, enforcement, and application of

its City Code of Ordinances, including its Rental Licensing and Crime Free Housing

ordinance, Anoka City Code §§ 50-49 to 50-68.

       13.    Defendant also provides an emergency response service that individuals

within its jurisdiction can access at any hour when they need critical medical care or other

assistance during a crisis.

       14.    Defendant is responsible for the acts of its agents and employees, including

its City Council, City Manager, and Police Department.

                                             FACTS

   A. Defendant’s Rental Licensing and Crime Free Housing Ordinance

       15.    Defendant adopted its “Rental Licensing and Crime Free Housing”

ordinance, or “nuisance ordinance,” with the stated purpose of ensuring that residential

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rental properties and their neighbors (1) have a safe, secure, and sanitary environment,

(2) are free from “criminal activity, noise, nuisances or annoyances,” and (3) are “[f]ree

from reasonable fears about safety of persons and security of property.” Anoka City Code

§ 50-49(a).

       16.    The nuisance ordinance requires landlords to have a license to operate a

rental property. Id. § 50-51(a).

       17.    Landlords must certify that they have read the nuisance ordinance, that they

conduct criminal background checks on prospective occupants, and that they include the

Crime Free/Drug Free Addendum (discussed below) in any lease. Id. § 50-53(b).

       18.    Defendant’s nuisance ordinance penalizes landlords for “nuisance calls” to

their properties. See id. § 50-64.

       19.    The ordinance defines “nuisance call” as “any instance where law

enforcement officers are called to a property in response to a valid complaint related to

disorderly conduct.” Id. § 50-50.

       20.    Defendant defines “disorderly conduct” to include nineteen categories of

conduct. Id. One of these categories of “disorderly conduct” is “[r]epeated unfounded

calls to police.” Id.

       21.    Defendant creates an increasing penalty schedule for nuisance calls in any

consecutive twelve-month period. After the first and second nuisance calls at the property,

Defendant may notify the landlord. Id. § 50-64(1), (2). After the third nuisance call, the

landlord must respond with a “written report of actions taken to abate further nuisances on

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the property.” Id. § 50-64(3). Failure to respond to the letter may result in a nuisance fee

($250 for the first notification and $500 for each subsequent notification). If the landlord

fails to pay the nuisance fee or if the landlord receives a fourth nuisance call, Defendant

may suspend the landlord’s rental license for up to three months. Id. § 50-64(4). If there

is another nuisance call, Defendant may revoke the landlord’s rental license for up to one

year. Id. § 50-64(5).

       22.    The nuisance ordinance provides that Defendant will not impose any adverse

license action for nuisance calls that occur while the landlord is pursuing eviction

proceedings or “within 30 days of notice given by the licensee to an occupant to vacate the

rental dwelling unit.” See id. § 50-64(8). Defendant can pursue adverse license action

against a landlord when the landlord “fails to diligently pursue the eviction process.” Id.

       23.    The nuisance ordinance also states that “[n]o adverse license action shall be

imposed” where the calls were placed by a “residential occupant for police or emergency

assistance in response to medical calls, domestic abuse or any other conduct.” Id. § 50-

64(8)(a)(2). The term “medical calls” is not defined in the ordinance. See id.

       24.    But the ordinance does not prohibit Defendant from designating such calls a

nuisance and instead only requires that Defendant consider whether a call was for

emergency medical assistance when considering whether to take adverse license action

against a landlord. See id.




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       25.    Under the nuisance ordinance, Defendant has deemed and can continue to

deem calls for emergency service as a nuisance even when medical or disability-related

issues are involved, such as calls for emergency service during mental health episodes.

   B. Defendant’s Crime Free/Drug Free Lease Addendum

       26.    Defendant requires that landlords include a Crime Free/Drug Free Lease

Addendum in their leases with tenants. Id. § 50-53(b)(9).

       27.    Defendant provides landlords with a model Crime Free/Drug Free Lease

Addendum to include in their leases with tenants.

       28.    Defendant may revoke a landlord’s rental license due to “[f]ailure to actively

pursue the eviction of occupants who have violated the provisions of the crime free lease

addendum.” Id. § 50-59(c)(1)(h).

       29.    Defendant’s model lease addendum requires tenants to agree that they, and

members of their household, guests, or other invitees, will not engage in disorderly

conduct, including making “repeated unfounded calls to police.”

       30.    Defendant’s model lease addendum also states that “[t]hree nuisance police

calls for service involving the same tenancy within a continuous twelve-month period shall

be a substantial and material violation to the lease and good cause for termination of the

tenancy.”

       31.    Defendant’s model lease addendum makes no mention or reference to the

ordinance’s provision that prohibits adverse license action against a landlord when a tenant

calls for medical service. See id. § 50-64(8)(a)(2).

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       32.    Individuals with mental health disabilities who make three medical calls in a

year could be deemed in violation of the Defendant’s model lease addendum and face

eviction.

   C. Defendant’s Public Disclosure of Individuals’ Mental Health Disabilities and
      Confidential Medical Information

       33.    From at least 2018 through mid-2023, Defendant sent weekly reports to

licensed landlords in the City detailing all calls for emergency service from all rental

properties.   Defendant marked in yellow calls for service that Defendant deemed a

“Nuisance Call for Service” or “NCFS.”

       34.    Landlords were provided all Calls for Service Reports, not just descriptions

of calls arising from incidents at their property.

       35.    Along with a general description, each Calls for Service Report includes the

address of the incident as well as the names, addresses, ages, and for some reports, photos

of those involved.

       36.    In at least 780 incidents in these Calls for Service Reports, Defendant

revealed information about individuals’ mental health disabilities, such as their diagnoses,

medications, and names of psychiatric or medical providers. Defendant even shared

intimate details about individuals’ suicide attempts, such as the specific method used for

the suicide attempt.

       37.    Defendant’s Calls for Service Reports often provide identifying information

about the person who called for emergency services for someone else in crisis.


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       38.    The disclosure of medical and disability-related information about mental

health crises and suicide attempts or threats is unnecessary for the safe operation of rental

properties.

       39.    In fact, state law requires that Defendant withhold public access to calls for

emergency service data to protect the identity of individuals when “the object of the call is

to receive help in a mental health emergency.” Minn. Stat. § 13.82 subd. 17(f).

       40.    Defendant used these Calls for Service Reports to notify landlords of tenants

involved in incidents flagged as NCFS and encourage them to evict these tenants.

       41.    A landlord in the City said that, based on her communications with

Defendant, she understands that if she does not evict tenants associated with the NCFS

code, she could lose her rental license and all of her tenants would have to move out of her

building.

       42.    Defendant also used the Calls for Service Reports to encourage landlords to

screen potential tenants.

       43.    By sharing detailed information about residents’ medical and mental health

information in reports distributed to all Anoka landlords, Defendant provides residents’

current and prospective landlords with information that landlords would likely otherwise

be prohibited from seeking from rental housing applicants.

       44.    Defendant changed its practice in mid-2023 so that landlords can receive

Calls for Service Reports on request but do not automatically receive the Reports as a

matter of course. By sharing confidential information about individuals’ mental health

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disabilities with all landlords in the City, Defendant creates an arbitrary and unnecessary

barrier to such persons exercising their right to access the City’s emergency services.

These persons risk eviction or future discrimination by landlords. The practice denies,

limits, or makes unavailable housing or access to emergency services to persons with

disabilities and persons associated with them because of disability or discourages such

persons from seeking housing or emergency services in Anoka because of disability.

   D. Defendant’s Enforcement of its Nuisance Ordinance

       45.    Defendant was more likely to mark a call as NCFS when Defendant

identified that the call involved mental health issues even after controlling for whether the

call involved other issues such as noise complaints, violence, or illegal drugs.

       46.    On numerous occasions, Defendant did not enforce its nuisance ordinance

against individuals without mental health disabilities who engaged in similar activity as

individuals with mental health disabilities.

       47.    Although Defendant’s ordinance prohibits “repeated unfounded calls to

police,” Defendant frequently did not penalize individuals who repeatedly called for

“unfounded” reasons but did not exhibit obvious mental health issues. In general, the

weekly reports show that individuals, including tenants, frequently and routinely called to

alert Defendant about complaints, disturbances, or criminal activity, such as suspicious

individuals, vehicles, and noises. While there may have been valid reasons for these calls,

police did not find evidence to support the claims for many of them. Yet Defendant often



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responded to repeated “unfounded” calls from the same individuals and units and did not

mark them as NCFS when such individuals did not have obvious mental health disabilities.

       48.    For example, Defendant’s police responded to 17 calls from an elderly tenant

between November 2018 and February 2020 (with 14 calls in the first year). Most of these

calls related to the tenant’s accidental use of a medical alarm and requests for assistance

with tasks like finding glasses and using the bathroom. Defendant never marked any of

these calls as NCFS in the reports, and Defendant never sent the landlord or tenant a letter

notifying them of any nuisance ordinance or Crime-Free/Drug-Free Lease Addendum

violations.

       49.    In contrast, Defendant penalized a tenant with a mental health disability for

calling because of the tenant’s delusions. According to the Calls for Service Report,

Defendant’s police were dispatched to the apartment multiple times over three days in

response to calls for service that included reports of seeing a suspicious person, hearing

voices in a hallway where no one was present, and believing that someone had hacked the

tenant’s phone. The police told dispatch that this person “has mental health issues” but

was not a danger to himself or others. Defendant flagged these calls as NCFS and sent a

letter to the tenant’s landlord instructing the landlord to evict the tenant for violating the

nuisance ordinance.

       50.    Similarly, while Defendant’s nuisance ordinance states that one of its

purposes is to ensure that residential properties are free from criminal activity, noise, or



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“annoyances,” see Anoka City Code § 50-49(a)(2), Defendant often did not mark these

types of calls as NCFS when they did not involve mental health issues.

       51.    For example, Defendant’s police were dispatched for a noise complaint, and

when they arrived, the police confirmed that there were two intoxicated men in the

apartment laundry room hitting the walls and door. In another incident, Defendant’s police

arrested an individual for stealing another person’s phone at an apartment complex, and

the individual became combative with police. The police needed to “use physical strength”

to get this individual into their car and then the individual “kicked the rear passenger side

door numerous times.” Defendant did not mark these calls as NCFS in the reports.

       52.    In contrast, when an individual with a mental health disability resisted

transport to a hospital, Defendant marked the call for service as NCFS. Her full name, age,

address, and sex are included in the report.

   E. Complainants

       53.    The Department of Justice has received complaints alleging that Defendant

discriminates against qualified individuals with mental health disabilities and those

associated with them and caused them significant harm.

       54.    For example, Complainant A, who has lived in the same apartment in Anoka

for years, has a mental health disability and Post-Traumatic Stress Disorder (PTSD).

Because of mental health crises, she called for emergency services twice. For both times

that Defendant’s police officers came to her apartment, Defendant included in Calls for

Service Reports extremely sensitive information about her, including that she said she

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planned to die by suicide, the hospital she was transported to, and the name and assessment

of her therapist. Because of the effect that the Calls for Service Reports could have on her

current and future housing prospects, she has refrained from calling for emergency service

while feeling suicidal.

       55.    The Department of Justice also received complaints from landlords and

housing providers, such as Complainant B. Complainant B operates several assisted living

facilities in the City that serve people with disabilities. Defendant pressured Complainant

B to evict one of her residents with mental health disabilities who, during a period of

transition, called for emergency services at times because she had delusions about people

coming to hurt her. Defendant’s police officers knew that this resident had mental health

disabilities and that her calls related to her disabilities. Yet Defendant’s police officers told

Complainant B, her staff, and the resident several times that additional calls would result

in fines or other penalties. This led Complainant B and her staff to discourage the resident

from calling the police, and the resident grew fearful of calling the police. Complainant B

refused to evict this resident, and the resident’s symptoms improved. Complainant B also

complained about Defendant’s sharing of medical and disability-related information about

her residents with landlords in the City through Calls for Service Reports.

       56.    Defendant used its nuisance ordinance enforcement efforts to target multiple

other tenants with mental health disabilities and their landlords. Multiple tenants were

evicted due at least in part to calls for emergency service related to their mental health

disabilities. Tenants and landlords have been and continue to be deterred from making

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calls for emergency service because of fears that they will be evicted, fined, or otherwise

punished. Tenants’ confidential medical and disability-related information was or may be

widely shared, which could lead to barriers securing new housing in the City.

       57.    Complainant A and other tenants and residents with mental health disabilities

are qualified individuals with disabilities who are protected by Title II of the ADA and the

FHA. These individuals’ mental health disabilities are a physical or mental impairment

that substantially limit one or more major life activities, including caring for oneself,

sleeping, concentrating, and thinking. 42 U.S.C. § 12102(1)-(2); 28 C.F.R. § 35.108(b)

(listing “mental or psychological disorder” and “emotional or mental illness” among other

physical and mental impairments); 42 U.S.C. § 3602(h).           They are also qualified

individuals with disabilities who, with or without reasonable modifications to rules,

policies, or practices, the removal of architectural, communication, or transportation

barriers, or the provision of auxiliary aids and services, meet the essential eligibility

requirements for the receipt of services or the participation in programs or activities

provided by Defendant. See 42 U.S.C. § 12131(2); 28 C.F.R. § 35.104. The only essential

eligibility requirement for receipt of Defendant’s emergency response service is that an

individual requests such service in Defendant’s jurisdiction.

       58.    Complainant B and other individuals associated with individuals with mental

health disabilities are protected by Title II of the ADA, because they have a known

relationship or association with an individual with a known disability.          28 C.F.R.

§ 35.130(g). They are also protected under the FHA, because they are associated with,

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provide services to, or rent their property to individuals with disabilities. 42 U.S.C.

§ 3604(f)(1)-(2).

       59.     Along with Complainants A and B, other persons have been harmed by

Defendant’s unlawful discrimination alleged herein.

   F. Harm to Individuals

       60.     Defendant denies qualified individuals with mental health disabilities and

those associated with them an equal opportunity to benefit from Defendant’s emergency

response service and also denies them equal housing opportunities in violation of the ADA

and FHA. People with mental health disabilities risk the loss of their housing, either

through eviction or revocation of their landlords’ rental license, if they exercise their right

to use Defendant’s emergency services.             Such conduct subjects individuals to

discrimination because of their disability or, in the case of landlords, because of the

disability of their tenants.

       61.     Defendant discouraged and prevented individuals with mental health

disabilities and those associated with them from using its emergency response service.

       62.     By making the Calls for Service Reports available to landlords in the City,

Defendant harms individuals with mental health disabilities. The Calls for Service Reports

reveal private information about individuals with mental health disabilities who are not

engaging in activities that violate the law or a lease. To avoid such disclosures, individuals

with mental health disabilities and those caring for them are deterred from calling the police

and risking their current housing or future housing prospects. Tenants with mental health

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disabilities can either use the service and have their mental health information shared

publicly or not use the service at all.

       63.    Because of Defendant’s actions, individuals with mental health disabilities

and those associated with them suffered emotionally and physically through medical crises,

mental health episodes, and other emergencies but could not call Defendant for emergency

service due to their fear of losing their housing or having their confidential medical

information exposed.

                              FIRST CAUSE OF ACTION
               Violation of Title II of the Americans with Disabilities Act
                                 (42 U.S.C. §§ 12131–34)

       64.    The foregoing paragraphs are incorporated herein.

       65.    All conditions precedent to the filing of this Complaint have occurred or been

performed. See 28 C.F.R. pt. 35, subpt. F.

       66.    Defendant violates Title II of the ADA, 42 U.S.C. §§ 12131–34, and its

implementing regulation, 28 C.F.R. pt. 35, by discriminating on the basis of disability.

This includes denying qualified individuals with mental health disabilities and those

associated with them an equal opportunity to participate in and benefit from its services,

programs, or activities—including its emergency response service—and otherwise limiting

them in the enjoyment of any right, privilege, advantage, or opportunity enjoyed by others

in violation of 42 U.S.C. § 12132 and 28 C.F.R. § 35.130(a), (b)(1)(ii), (b)(1)(vii), (g).

       67.    Qualified individuals with mental health disabilities and those associated

with them have been injured by and continue to be harmed and aggrieved by Defendant’s

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discriminatory conduct. These individuals allegedly suffered damages as a result of

Defendant’s conduct.

                          SECOND CAUSE OF ACTION
                          Violation of the Fair Housing Act
                              (42 U.S.C. §§ 3601–3619)

      68.    The foregoing paragraphs are incorporated herein.

      69.    The residential properties described above are all dwellings within the

meaning of 42 U.S.C. § 3602(b).

      70.    The conduct of Defendant described above constitutes:

             a. A denial of housing or making housing unavailable because of disability,

                in violation of the Fair Housing Act, 42 U.S.C. § 3604(f); and

             b. Discrimination in the terms, conditions, or privileges of rental of a

                dwelling, or in the provision of services or facilities in connection

                therewith, because of disability, in violation of the Fair Housing Act, 42

                U.S.C. § 3604(f).

      71.    The conduct of Defendant described above constitutes:

             a. A pattern or practice of resistance to the full enjoyment of rights granted

                by the Fair Housing Act, in violation of 42 U.S.C.§ 3614(a); or

             b. A denial to a group of persons of rights granted by the Fair Housing Act,

                which raises an issue of general public importance, in violation of 42

                U.S.C. § 3614(a).



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       72.     Persons who were victims of Defendant’s discriminatory practices include

individuals with mental health disabilities and those associated with them. Such persons

are aggrieved persons as defined in 42 U.S.C. § 3602(i) and allegedly suffered damages as

a result of Defendant’s conduct.

       73.     Defendant’s conduct was intentional, willful, or taken with reckless disregard

for the rights of others.

                                     PRAYER FOR RELIEF

WHEREFORE, the United States prays that the Court:

   A. Grant judgment in favor of the United States and declare that Defendant has violated

       the ADA and FHA;

   B. Enjoin Defendant from engaging in discriminatory policies and practices against

       individuals with disabilities and those associated with them or otherwise violating

       the ADA and the FHA;

   C. Order Defendant to take all affirmative steps to ensure compliance with the ADA

       and FHA, including steps necessary to prevent the recurrence of any discriminatory

       conduct in the future and to eliminate to the extent practicable the effects of their

       unlawful practices as described herein;

   D. Order Defendant to take such affirmative steps as may be necessary to restore, as

       nearly as practicable, all aggrieved persons to the position they would have been in

       but for the discriminatory conduct;

   E. Award monetary damages to all aggrieved persons;

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   F. Assess a civil penalty against Defendant in an amount authorized by 42 U.S.C.

      § 3614(d)(1)(C) to vindicate the public interest; and

   G. Order such other appropriate relief as the interests of justice may require.

                                DEMAND FOR JURY TRIAL

      Plaintiff demands a trial by jury as to all issues, pursuant to Federal Rule of Civil

Procedure 38.




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Dated: May 21, 2024                     Respectfully submitted,

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